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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

MICHAEL SCOTT,                                     §
                                                   §
        Plaintiff,                                 §
                                                   §
vs.                                                §
                                                   §
AMAZON, AMAZON.COM,                                §
AMAZON INC.,AMAZON FLEX,                           §
                                                     CIVIL ACTION NO. 3:20-CV-01909-C
AMAZON KYDC, LLC,                                  §
AMAZON.COM SERVICES, INC.,                         §
AMAZON.COM SERVICES, LLC,                          §
ELITE AIR, LLC, and                                §
TRAVISANO CONSTRUCTION,                            §
LLC,                                               §
                                                   §
        Defendants                                 §

                   DEFENDANT ELITE AIR, LLC’S ANSWER TO
                      PLAINTIFF’S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

        NOW INTO COURT, through undersigned counsel, comes Defendant Elite Air, LLC

(“Defendant”) and files this Original Answer to Plaintiff’s Original Petition. Defendant denies

each and every allegation therein except as may be hereinafter expressly admitted and further

says:

                                  I. RULE 47 STATEMENT

                                              1.

        Defendant admits that Plaintiff’s Original Petition seeks monetary relief over $200,000

but no more than $1,000,000, which is within the jurisdictional limits of the Judicial District

Court of Dallas County, Texas.



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                          II. DISCOVERY CONTROL PLAN LEVEL

                                                2.

          Defendant does not have knowledge or information necessary to form a belief as to

Plaintiff’s intent to conduct discovery under Level 3 of the Texas Rules of Civil Procedure, but

denies that such rules apply in Federal Court

                                 III. PARTIES AND SERVICE

                                                3.

          The allegations of paragraph 4 of Plaintiff’s Original Petition are denied for lack of

sufficient information to justify a belief therein except to admit Michael Scott is made Plaintiff

herein.

                                                4.

          The allegations of paragraph 5 of Plaintiff’s Original Petition are denied for lack of

sufficient information to justify a belief therein except to admit that Amazon, Amazon.com,

Amazon, Inc, Amazon Flex, and Amazon KYDC Flex (collectively “Amazon”) are made

Defendants herein.

                                                5.

          The allegations of paragraph 6 of Plaintiff’s Original Petition are denied for lack of

sufficient information to justify a belief therein except to admit that Amazon.com.KYDC, LLC

is made Defendant herein.

                                                6.

          The allegations of paragraph 7 of Plaintiff’s Original Petition are denied for lack of

sufficient information to justify a belief therein except to admit that Amazon.com Services, Inc

is made Defendant herein.
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                                              7.

       The allegations of paragraph 8 of Plaintiff’s Original Petition are denied for lack of

sufficient information to justify a belief therein except to admit that Amazon.com Services,

LLC is made Defendant herein.

                                              8.

       The allegations of paragraph 9 of Plaintiff’s Amended Complaint are denied for lack of

sufficient information to justify a belief therein except to admit that Elite Air, LLC is made

Defendant herein.

                                              9.

       The allegations of paragraph 10 of Plaintiff’s Amended Complaint are denied for lack of

sufficient information to justify a belief therein except to admit that Travisano Construction,

LLC is made Defendant herein.

                              IV. JURISDICTION AND VENUE

                                              10.

       Defendant admits that Plaintiff’s Petition alleges the subject matter in controversy is

within the jurisdictional limits of the Judicial District Court of Dallas County, Texas.



                                              11.

       Defendant denies knowledge or information necessary to form a belief as to the

allegations contained in paragraph 12 of Plaintiff’s Original Petition except to admit that

Defendant Elite Air, LLC was doing business in Texas at the time of the incident.

                                              12.

       Defendant denies knowledge or information necessary to form a belief as to the
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allegations contained in paragraph 13 of Plaintiff’s Original Petition except to admit that the

alleged events or omissions giving rise to this lawsuit occurred in Dallas County, Texas.

                                     V. ACTS OF AGENTS

                                              13.

        Defendant admits that Plaintiff’s Original Petition intended to include conduct of agents,

employees, officers, trustees and/or other representatives in the alleged acts of the Defendants.

The allegations of section V of Plaintiff’s Original Petition, including all subparts, are otherwise

denied. Where the allegations contained in Paragraph 14 are not directed at Defendant Elite Air,

LLC, Defendant denies knowledge or information necessary to form a belief as to such

allegations.

                                           VI. FACTS

                                              14.

        Defendant denies knowledge or information necessary to form a belief as to the

allegations contained in Paragraph 15 of Plaintiff’s Original Petition except to admit that

Plaintiff claims to have sustained injuries in connection with an HVAC installation at

Amazon’s Dallas Distribution Center.

                                              15.

        Defendant admits that Garland Heat & Air was retained for an HVAC installation at

Amazon’s Distribution Center. Otherwise, Defendant denies knowledge or information

necessary to form a belief as to the allegations contained in Paragraph 16 of Plaintiff’s Original

Petition.




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                                               16.

       Defendant denies knowledge or information necessary to form a belief as to the

allegations contained in Paragraph 17 of Plaintiff’s Original Petition.

                                               17.

       Defendant denies knowledge or information necessary to form a belief as to the

allegations contained in Paragraph 18 of Plaintiff’s Original Petition.

                                               18.

       Defendant denies knowledge or information necessary to form a belief as to the

allegations contained in Paragraph 19 of Plaintiff’s Original Petition.

                                               19.

       Defendant denies knowledge or information necessary to form a belief as to the

allegations contained in Paragraph 20 of Plaintiff’s Original Petition.

                       VII. PLAINTIFF’S CLAIM OF NEGLIGENCE

                                               20.

       Paragraph 21 of Plaintiff’s Original Petition is vaguely asserted against all Defendants.

However, to the extent that such allegations are intended to assert that Defendant Elite Air LLC

was in some manner negligent, that it had a duty to make the premises safe, that it had control

over the premises, that it had control over the fan, that it had control over Plaintiff’s work, or that

liability for the subject accident should in some manner be imposed upon Defendant, then

Defendant denies such allegations.

                                               21.

       Defendant denies the allegations contained in paragraph 22 of the Petition.

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                                                  22.

       Defendant denies the allegations contained in paragraph 23 of the Petition.

                                                  23.

       Defendant denies the allegations contained in paragraph 24 of the Petition.

                                        VIII. DAMAGES

                                                  24.

       Defendant denies knowledge or information necessary to form a belief as to the

allegations contained in Paragraph 25 and subsections of Plaintiff’s Original Petition. Defendant

specifically denies liability for any alleged damages of Plaintiff.

                                 IX. EXEMPLARY DAMAGES

                                                  25.

       Defendant denies knowledge or information necessary to form a belief as to the

allegations contained in Paragraph 26 Plaintiff’s Original Petition. Defendant specifically denies

liability for any alleged damages of Plaintiff.

                                         X. DISCOVERY

                                                  26.

       Defendant denies that the Texas Rules of Civil Procedure, specifically Rule 194, applies

to this matter as the matter is now in Federal Court.

                                           XI. PRAYER

                                                  27.

       Defendant denies that any judgment should be rendered against it in this matter.

                      XII. DEFENDANT’S AFFIRMATIVE DEFENSES

                                                  28.


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        Without admitting or acknowledging that Defendant bears the burden of proof as to any

defense, Defendant asserts the following affirmative defenses:

        Pleading further, and in the alternative if such is necessary, Plaintiff’s claims should be

dismissed, in whole or in part, because Defendant did not breach any legal duty owed to

Plaintiff.

                                               29.

        Pleading further, and in the alternative if such is necessary, Plaintiff’s alleged injuries and

damages, if any, were caused by third parties that Defendant did not employ or control including

but not limited to Plaintiff’s employer Garland Heat & Air and Amazon.Com Services, LLC

and/or the other named Amazon Defendants, and said negligence was a proximate cause or, in

the alternative, was the sole proximate cause of Plaintiffs alleged damages.

                                               30.

        Pleading further and/or in the alternative if such is necessary, Plaintiff failed to exercise

that degree of care which an ordinary, prudent person in the exercise of ordinary care would have

exercised under the same or similar circumstances, and such failure was the sole proximate cause

or, in the alternative, a proximate cause in whole or in part of Plaintiff’s alleged injuries and

damages, if any.

                                               31.

        Pleading further, and in the alternative if such is necessary, Defendant denies that any

alleged act or omission of Defendant was a proximate cause of any alleged injury or damage, if

any, to Plaintiff and further denies that it is liable under any theory of recovery.

                                               32.

        Pleading further, and in the alternative if such is necessary, Plaintiff’s damages, with

respect to recovery of medical or health care expenses, if any, are limited to the amount actually

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paid, or incurred pursuant to §41.0105 of the Texas Civil Practice & Remedies Code.

                                              33.

       Pleading further, and in the alternative if such is necessary, Defendant asserts that any

award of pre-judgment interest cannot include, as a matter of law, future damages, if any,

awarded to Plaintiff in this matter. Defendant further asserts the amount of any pre-judgment and

post-judgment interest awarded in this case against Defendant, if any, is limited as set forth in

common law, statute, state and federal constitutions, the Texas Finance Code, and/or the Texas

Civil Practice & Remedies Code.

                                              34.

       Pleading further, and in the alternative if such is necessary, in the unlikely event that

Defendant is found liable to Plaintiffs, which alleged liability Defendant expressly denies,

Defendant is entitled to a credit or offset for any and all sums Plaintiffs have received or may

hereafter receive by way of any and all settlements arising from Plaintiffs’ claims and/or alleged

causes of action.

                                              35.

       Pleading further, and in the alternative if such is necessary, any claim of alleged lost

earnings, loss of earning capacity and/or pecuniary loss, if any, is limited to a net loss after

reduction for federal income tax obligations. Further, this Court is required to instruct the jury

regarding the application of federal income taxes to each of Plaintiff’s claims for compensatory

damages. See TEX. CIV. PRAC. & REM. CODE § 18.091.

                                              36.

       Pleading further, and in the alternative if such is necessary, Defendant asserts that the

conduct of others, of all parties to this lawsuit, of any settling persons, and of responsible third

parties should be compared by the court and jury and, in the unlikely event that Plaintiff obtains

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an award of damages in this case, Defendant’s liability, if any, for any such recovery should be

limited to its respective percentage of proportionate responsibility in accordance with Chapter 33

of the Texas Civil Practice and Remedies Code.

                                              37.

         Pleading further, and in the alternative if such is necessary, Defendant would show that

Plaintiff’s claims are barred, in whole or in part, by Chapter 95 of the Texas Civil Practice &

Remedies Code, because Plaintiff was a contractor, subcontractor, or employee of a contractor or

subcontractor, Plaintiff was performing construction, repairs, renovations, or modifications to an

improvement to real property at the time of the Incident, Defendant did not exercise or retain

control over the manner in which the work was performed, and Defendant did not have actual

knowledge of the alleged danger or condition and/or did not fail to adequately warn of such

danger or condition.

                                              38.

         Defendant intends to rely upon such other defenses as may become available or appear

during discovery in this case or otherwise, and hereby reserves the right to amend this answer to

assert any such defenses.

                              XIII. REQUEST FOR JURY TRIAL

                                              39.

         Defendant hereby joins Plaintiff’s request for a trial by jury pursuant to FED. R. CIV. P.

38(b).

                                XIV. DEFENDANT’S PRAYER

                                              40.

         WHEREFORE, Defendant Elite Air, LLC respectfully prays that the above and foregoing

answer be deemed sufficient, and that after due proceedings had, there be judgment herein in
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favor of Elite Air, LLC and against Plaintiff, rejecting Plaintiff’s demands at Plaintiff’s sole cost,

or alternatively, reducing any judgment in accordance with law, at Plaintiff’s sole cost.

                                              By: /s/ Maxwell S. Bayman
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on the 17th day of August, 2020, a true and correct copy of
the foregoing document was electronically filed with the Clerk of the Court for the U.S. District
Court for the Northern District of Texas using the electronic case filing system of the Court. The
undersigned further certifies that the following counsel and/or pro se parties of record were
served with a true and correct copy of the foregoing document electronically or by any other
manner authorized by Fed. R. Civ. P. 5(b)(2):

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